Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 1 of 30 PageID 1034




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

                                Case No. 15-cv-579-36AEP - Civil


 CHARLES SMITH
 and DOROTHY CAPEZZA,

        Plaintiffs,

 vs.

 THE VILLAGE CLUB, INC,
 d/b/a BROOKHAVEN VILLAGE, INC.,
 and JIM RUBERT, individually,
 JOHN BERNDT, individually,
 JOYCE BURTON, individually,
 MICKIE CRITTENDEN, individually,
 and TAMMY WALKER, individually
        Defendants.
 _________________________________/


          PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT ON DEFENDANTS'
                                  LIABILITY

        COME NOW, Plaintiffs, CHARLES SMITH and DOROTHY CAPEZZA, by and

 through their undersigned counsel and, pursuant to Fed.R.Civ.P. 56 move for summary judgment

 as to liability of the Defendants for violations of the Fair Housing Amendments Act, 42 U.S.C.

 §3601 et seq., and in support thereof state.

                                        I.      INTRODUCTION

        At the time of filing this action Plaintiffs Charles Smith and Dorothy Capezza lived in a

 mobile home community in Polk County known as Brookhaven Village. While living there

 Charles Smith suffered from severe hearing loss in both ears, and relied upon his dog Roxy to

 help him cope with his disability. Dorothy Capezza suffered from, and continues to suffer from

 major depression and severe anxiety. Capezza benefited from living with her dog Buttons before
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 2 of 30 PageID 1035




 Buttons was euthanized on February 13, 2015. Buttons provided emotional support and

 companionship that helped ameliorate the symptoms of Capezza's depression and anxiety.

        The then president of Brookhaven's board told Capezza and Smith they were approved by

 Brookhaven to live with their assistance animals before either purchased lots in the community.

 Yet on December 3, 2014 both Plaintiffs were sent letters by Brookhaven's counsel, Dan Pilka,

 claiming they were in violation of Brookhaven's no-pet rule, and demanding that they remove

 their dogs or face legal action.

        Plaintiffs idvidually responded to the letter from Attorney Pilka explaining that they

 needed their dogs because of disabilities and informing him that they had been previously told

 their dogs were approved. Notwithstanding the facts that Brookhaven had no reason to dispute

 that Capezza and Smith were told their assistance animals were approved before they moved to

 the community, and that Brookhaven had no objective reason to dispute that Capezza and Smith

 needed an accommodation for their dogs, Capezza and Smith were both subsequently

 commanded to provide unspecified medical documentation and proof that their assistance animal

 were trained. A few days later they were targeted with a threat of litigation if they did not

 participate in and pay for "statutory pre-suit mediation."

        On February 23, 2015 all five of the individually named Defendants voted to initiate legal

 action against Smith and Capezza. Brookhaven filed suit against Smith on March 21, 2015,

 seeking removal of his assistance animal and asking that Smith be forced to pay Brookhaven's

 attorney's fees. Smith was so distressed by how he was treated at Brookhaven he sold his home

 in the community shortly thereafter.

        As of the time of this filing, Capezza has not been granted an accommodation so that she

 may obtain another emotional support animal. Capezza has been without an emotional support



                                                                                                  2
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 3 of 30 PageID 1036




 animal for more than a year, and has experienced a significant increase in her symptoms of

 depression and anxiety, including difficulty sleeping, and feelings of hopelessness anxiousness

 and despair. While she previously walked Buttons three times a day, Capezza has become

 essentially housebound and socially isolated, rarely leaving her home.


                    II.    PLAINTIFFS' STATEMENT OF MATERIAL FACTS

                          A. MATERIAL FACTS REGARDING CHARLIE SMITH

        1.      At the time this suit was initiated, Plaintiff Charlie Smith suffered severe hearing

 loss and resided at Brookhaven with a dog that would alert him to sounds such as a doorbell or

 an intruder. This was especially important because Smith could not sleep with his hearing aids

 in, and hence could not hear at all during the night. [Declaration of Judy Shimunek, Exhibit A, ¶

 4,5]

        2.      It is undisputed that Smith’s assistance animal (a Silky Terrier breed dog named

 “Roxy”) had no specialized training to be a "service dog." [Ex. A, ¶ 5]

        3.      Before Smith moved to the Brookhaven community, he was told that his need to

 live with his dog would be accommodated. [Ex. A, ¶ 6] [Declaration of David Milne, Ex. E, ¶ 7]

 Brookhaven had no reason to doubt that Smith had been led to think his dog was approved. [Ex.

 F, pg 33]

        4.      Notwithstanding having obtained prior approval for his assistance animal, on

 December 3, 2014, Smith was sent a letter from Brookhaven's counsel, Dan Pilka, demanding

 that Smith remove his dog within 30 days "in order to avoid the possibility of legal actions being

 initiated." [Ex. A, ¶ 6] [Amended Complaint, DE 26, Ex. A] When Smith replied that his dog

 was a service dog that he needed because of a disability, [DE 26, Ex. B] on December 23, 2014,

 Brookhaven, again through counsel, demanded "medical records, reports and/or documents"

                                                                                                   3
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 4 of 30 PageID 1037




 proving Smith was disabled, and proof that the dog was trained to be a service animal. [DE 26,

 Ex. C], which was followed up on January 6, 2015 with a "STATUTORY OFFER TO

 PARTICIPATE IN PRE-SUIT MEDIATION" threatening that if Smith did not capitulate and

 take part in mediation, for which he would be 50% financially responsible, "suit may be brought

 against you by the Association without further warning." [DE 26, Ex. D]

         5.      On February 20, 2015 counsel for Plaintiffs sent Brookhaven's counsel a lengthy

 letter [DE 26, Ex. E] in which she cited HUD regulations and case law establishing that for

 purposes of the FHA, assistance animals do not require special training, and provided Attorney

 Pilka copies of the Joint Statement of the Department of Housing and Urban Development and

 the Department of Justice entitled "Reasonable Accommodations Under the Fair Housing Act"

 [DE 26, Ex. F] and the Department of Housing and Urban Development's guidance

 memorandum entitled "Service Animals and Assistance Animals for People With Disabilities in

 Housing and HUD-Funded Programs." [DE 26, Ex. G] Plaintiffs' counsel concluded the

 correspondence as follows :

         "I am hopeful that this matter can be worked out without further escalation. I would
         appreciate prompt confirmation that my clients will not be further hassled by you or the
         association regarding their dogs. If you have an objective reason to doubt that there is a
         legitimate need for an accommodation, please let me know and we can begin the
         interactive process to provide you verification within the parameters HUD and courts
         have established regarding the appropriate scope of inquiry that can be made by a
         housing provider."

         6.      Four days later, on February 24, 2015, Plaintiffs' counsel again reiterated that they

 were not refusing to provide the association information it legitimately needed. Her email, [Ex.

 I], stated in relevant part:

         My clients should not have to lawyer up and pay for a mediator in order to obtain an
         accommodation for an assistance animal. In fact the process should be simple and
         should not be intrusive. If Brookhaven wishes to pay for my time to come to Winter
         Haven and foot the bill for the mediator, I will ask my clients to participate. I hope I have

                                                                                                    4
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 5 of 30 PageID 1038




        made myself very clear that my clients are willing to provide the association the
        verification to which it is entitled by law, but serving a demand for pre-suit mediation is
        NOT engaging in the interactive process. (emphasis added)

        7.      Also on February 24, 2015, Smith's counsel forwarded a letter written by Dr. Gyl

 Kasewurm verifying that Charlie Smith has suffered severe hearing loss in both ears and that he

 has difficulty hearing even though he utilizes hearing aids. [DE 26 Ex. H] Smith's counsel's letter

 further explained that the dog "alerts him when someone is at the door by barking loudly and

 jumping on the bed, or circling Mr. Smith's legs if he is in a chair," and that the dog would alert

 him if there was an intruder. [DE 26 Ex. H]

        8.      Rather than reaffirm that Smith's need for his dog would be accommodated, on

 March 23, 2015 Brookhaven sued Smith in state court seeking an injunction forcing removal of

 his service animal and judgment against Smith for Brookhaven's attorney's fees and costs. See

 The Village Club Inc. d/b/a Brookhaven Village, Case No. 2015CC-001289-0000-00, [Ex. B].

        B.      MATERIAL FACTS REGARDING DOROTHY CAPEZZA

        9.      Dorothy Capezza is an eighty-two year old woman with a long history of

 suffering from major depression. Anxiety was added to the diagnosis of major depression in

 2014, and she has been taking psychoactive medications for her mental impairments for several

 years. Capezza's mental impairments impact her cognition, her ability to work, care for herself

 and her ability to otherwise carry out daily life activities. [Declaration of Dr. Erika Friedmann,

 Ex. C, ¶ 2]

        10.     Like Smith, prior to moving to Brookhaven Village, Capezza provided board

 president Frank Nutter documentation of her need to live with her emotional support animal, and

 was told she was approved by the board to have her dog. [Declaration of Dorothy Capezza, Ex.




                                                                                                  5
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 6 of 30 PageID 1039




 D, ¶ 5-6] [Declaration of David Milne, Ex. E, ¶7] Brookhaven had no reason to doubt that

 Capezza had been told by Nutter that she was approved to have her dog. [Ex. F, pg 36]

        11.     Capezza asked Frank Nutter, then President of Brookhaven's board, what she

 needed to have her dog in Brookhaven's no pet section. He told her that she had to get a note

 from her doctor saying she needed the dog, and have him registered. Capezza did so and was told

 by Nutter that the information had been reviewed by four board members and they approved of

 her moving in with Buttons. [Ex. H, pg 19]

        12.     As detailed in the amended complaint [DE 26] and her response to Defendants'

 motion for partial summary judgment [DE 66], Capezza was targeted with the same December 3,

 2104 form letter demanding that she remove her dog or risk legal action [DE 27, Ex I] as was

 sent to Plaintiff Charlie Smith.

        13.     On December 17, 2014, Capezza responded to the demand that she remove her

 dog by informing Brookhaven's counsel she had been approved to live with her dog before

 buying a lot in the community, and at that time her doctor had provided a letter verifying her

 need for her dog to help her cope with severe anxiety, which had worsened since she had

 received a letter demanding she remove Buttons. [DE 26: Exhibit J]

        14.     On December 31, 2014 Capezza was sent a letter by Brookhaven's counsel

 directing that she 1) produce "medical records, reports and/or documents to demonstrate that you

 are suffering from a medical disability or handicap that has been diagnosed, unless your medical

 disability or handicap is readily ascertainable;” 2) "Demonstrate how this emotional service

 animal reasonably accommodates your medical or psychiatric disability or handicap. This would

 include providing a copy of the prescription written by a healthcare provider;” 3) “Demonstrate

 the emotional service animal has special skills or training to accommodate your medical



                                                                                               6
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 7 of 30 PageID 1040




 disability or handicap. This would include providing any certification that the animal has

 received which notes its training as a service animal or emotional support animal;” and 4)

 "Demonstrate how the special skills or training of the service animal or emotional support animal

 set it apart from an ordinary pet.” [DE 26 Ex. K] A week later, on January 6, 2015, Capezza was

 also targeted with a "STATUTORY OFFER TO PARTICIPATE IN PRE-SUIT MEDIATION."

 The "statutory offer" stated:

        "In the past you have received numerous requests from the Association to bring your
        property into compliance by submitting an application and documentation for the dog
        you are keeping at your property. Yet, despite numerous requests to remedy these
        situations by your Association and by its Property Manager, you went ahead without
        submitting an Application and documentation for the Board to review and approve.
        These requests have been totally ignored by you and as a result your property has been
        referred to our firm for legal action."

        15.     The statutory offer, which was a statutory prerequisite to filing suit against

 Capezza, informed Capezza that she would have to pay for 50% of the costs of mediation, and

 that if she failed to capitulate to the "offer" to mediate "suit may be brought against you by the

 Association without further warning." [DE 26, Exhibit I].

        16.     Since Capezza's dog had to be humanely euthanized, Capezza is much more

 anxious and depressed and rarely leaves her home. [Ex. D ¶ 7] [Exhibit H, pg 55-57]

        17.     Capezza still needs an emotional support animal, but is afraid of being fined and

 sued by Brookhaven if she obtains one. [Ex. D ¶ 7]

        C.      MATERIAL FACTS REGARDING DEFENDANTS

        18.     On March 1, 2016 Brookhaven's Corporate Representative Tammie Walker was

 deposed on these topics:

                1. The basis for the failure to allow Dorothy Capezza to replace her emotional
                support animal.
                2. The basis for the lawsuit filed by Defendant against Charlie Smith.
                3. The allegations in the complaint filed by Charlie Smith and Dorothy Capezza.

                                                                                                 7
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 8 of 30 PageID 1041




                4. The affirmative defenses raised by Defendant in its Answer to the Complaint.
                5. The designation of a portion of the Brookhaven community as allowing pets.

        The transcript of the Corporate Representative's deposition is Exhibit F to this motion.

 The notice of deposition is Exhibit G to this motion, pg 1-3. [Exhibit G contains all the Exhibits

 to the March 1, 2016 Corporate Representative Deposition].

        19.     The minutes of a December 9, 2013 meeting of Brookhaven's board appear to

 reflect that there was a discussion of dogs in the interior no-pet section of the community,

 including "discussion of the fact that the individuals were told they could bring the dogs in and

 they should be granted a waiver." [Ex. G, pg 238 of 251]

        20.     The minutes of a January 6, 2014 meeting of the board reflect that Frank Nutter

 "mentioned there was a new woman coming into the park with all the paperwork giving her

 authority to have her animal in the no pet section." [Ex. G, pg 243 of 251]

        21.     Brookhaven had no reason to disbelieve that Smith had in fact been told before

 moving to the community that his dog would not be a problem [Ex. F, pg 33, lines 7-16], and

 that Brookhaven had no objective reason to doubt that Mr. Smith needed a dog to help him

 compensate for his hearing loss. [Ex. F, Pg 73, lines 6-11]

        22.     Brookhaven's corporate representative could not explain why the letter from Mr.

 Smith's doctor verifying Mr. Smith's hearing loss was not adequate, [Ex. F, pg 40 lines 11-20],

 why Smith had not been given an accommodation for Roxy [ Ex. F, pg 17] and was unsure

 whether it is still Brookhaven's position that a service animal or hearing animal that helps

 someone with a hearing loss must be trained and certified. [Ex. F, pg 30, lines 12-19] In spite of

 being produced as the corporate representative to testify regarding the basis for the lawsuit filed

 against Charlie Smith, Brookhaven's representative claimed not to even know whether a lawsuit

 had been filed against him. [Ex. F, pg 42 lines 12-17]

                                                                                                  8
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 9 of 30 PageID 1042




        23.     Counsel for Brookhaven elicited from his client's corporate representative that

 Ms. Capezza has never requested permission from the Board to obtain another dog to be her

 emotional support animal.      [Ex. F, pg 93] Capezza, an eighty-two year old woman that

 Brookhaven acknowledges had a long history of anxiety and depression, [Ex. F, pg 66], testified

 she had not given the Brookhaven additional information because "she had already done what

 was asked of her, and that "there was no need to go to a new board and start all over again. I can't

 handle it. I'm going to be very honest with you. I really can't handle it."[Ex. H, pg 39]

        24.     Capezza testified as to her hesitation to make a second request for an

 accommodation of the current board because she is "not one to upset the apple cart," and because

 of rude comments she had received from other residents regarding Buttons. [Ex. H, pg 42-45]

        25.     In spite of the attempt of Brookhaven's counsel to elicit testimony to the contrary,

 Brookhaven is fully aware that Capezza wants an accommodation for an emotional support

 animal. Capezza's attorney wrote counsel for Brookhaven on February 20, 2015, a week after

 Buttons was euthanized, explaining that Capezza was not required to show an emotional support

 animal has training and that Capezza already provided documentation from her doctor that she

 needs a dog for her anxiety. The correspondence indicated that if there was a legitimate reason

 to doubt the need for an accommodation "we can begin the interactive process to provide you

 verification within the parameters HUD and courts have established regarding the appropriate

 scope of inquiry that can be made by a housing provider." When no further inquiry was ever

 made by Brookhaven, and Brookhaven's board voted to initiate legal action on February 23,

 2015, the instant suit was initiated. The complaint before this court clearly states "Buttons had to

 be humanely euthanized because of health reasons on February 13, 2015. CAPEZZA would like

 to obtain another emotional support animal to assist her with her anxiety, but has not done so



                                                                                                   9
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 10 of 30 PageID 1043




 because of the pending demands for extraneous information regarding her disability and threat of

 litigation." [DE 26, pg 10, ft note1] Further, the requested relief in the complaint includes that

 both Plaintiffs be given a waiver of Brookhaven's no pet rule as an accommodation of their

 disabilities. [DE 26, pg 28]

        26.     When Brookhaven was asked if the Board was aware that Capezza wants an

 emotional support animal, the witness stated "the only thing the board is aware of are these

 lawsuits." When posed the question: "Okay. By the fact that she has filed a lawsuit asking that

 the Court order the association to allow her to have an emotional support animal, is that not

 evidence of the fact that she wants an emotional support animal?" counsel for Brookhaven

 instructed the witness not to answer the question. [ Ex. F, pg 98, lines 10-25]

        27.     Having, by happenstance of this lawsuit, been provided five years worth of Ms.

 Capezza's medical records and the Declaration of Dr. Friedmann, the Corporate Representative

 conceded that Brookhaven has sufficient information to grant Capezza's request for

 accommodation. [Ex. F, pg 101, lines 10-15].

        28.     It is undisputed that allowing Capezza to have an emotional support animal would

 not impose an undue financial or administrative burden or fundamentally alter the nature of the

 services Brookhaven provides. [Ex. F, pg 67] Nonetheless, as of the date of this filing, Capezza

 has not been given an waiver of Brookhaven's no-pet rule as an accommodation of her disability

 so that she may obtain an emotional support animal.

        29.     Brookhaven's counsel, before directing his witness not to answer the question

 regarding whether the corporation is aware of Capezza's desire for an accommodation by virtue

 of having been served a lawsuit stating Capezza wishes to obtain another dog for emotional

 support but is afraid of being sued, (presumably not an unrealistic concern given the suit filed



                                                                                                10
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 11 of 30 PageID 1044




 against her co-plaintiff Charlie Smith,) made much ado of Capezza not having again asked that

 she be given an accommodation for an emotional support animal. [Ex. F, pg 93] However,

 Brookhaven has no written policy directing how a person would request an accommodation, or

 that would inform a resident what Brookhaven would consider adequate verification of a

 disability related need for an accommodation [Ex. F pg 99-100] Furthermore, Brookhaven has no

 written policy that would assure a disabled resident his or her medical information would not be

 made public. [Ex. F, pg 108-109]

           30.   Brookhaven's counsel, who could not restrain himself from answering questions

 for the Corporate representative, [Ex. F pg. 10, 47, 48, 49, 109] pointed out that his letter

 commanding production of ""medical records, reports and/or documents" assured Capezza that

 the Board would "simply review the records at a regularly scheduled meeting and return them to

 you promptly." [DE 26, Ex. K] This assurance did not prevent Mr. Pilka from revealing the

 nature of Capezza's disability in a general meeting of Brookhaven residents later that day. [Ex.

 D, ¶ 8]

                                     STANDARD OF REVIEW

           31.   Pursuant to Fed. R. Civ. P. 56(a), "The court shall grant summary judgment if the

 movant shows that there is no genuine dispute as to any material fact and the movant is entitled

 to judgment as a matter of law." "By its very terms, this standard provides that the mere

 existence of some alleged factual dispute between the parties will not defeat an otherwise

 properly supported motion for summary judgment; the requirement is that there will be no

 genuine issue of material fact." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986)

 (emphasis in original); see also Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574

 (1986). An issue of fact is "genuine" if the record taken as a whole could lead a rational trier of



                                                                                                 11
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 12 of 30 PageID 1045




 fact to find for the non-moving party. Anderson, 477 U.S. at 248; Matsushita Elec. Indus. Co.,

 475 U.S. at 586. It is "material" if it might affect the outcome of the case under the governing

 law. Anderson, 477 U.S. at 248. In addition, when considering a motion for summary judgment,

 the Court is required to view the evidence in the light most favorable to the non-moving party.

 Id. at 255.

         32.    If the moving party bears the burden of proof at trial, the moving party must

 establish all essential elements of the claim or defense in order to obtain summary judgment.

 See U S v. Four Parcels of Real Prop. in Greene & Tuscaloosa Counties, 941 F.2d 1428, 1438

 (11th Cir. 1991). The moving party '"must support its motion with credible evidence . . . that

 would entitle it to a directed verdict if not controverted at trial."' Id. (quoting Celotex Corp. v.

 Catrett, 477 U.S. 317, 331 (1986) (Brennan, J., dissenting)).    "If the moving party makes such

 an affirmative showing, it is entitled to summary judgment unless the nonmoving party, in

 response, 'come[s] forward with significant, probative evidence demonstrating the existence of a

 triable issue of fact."' Four Parcels, 941 F.2d at 1438 (quoting Chanel, Inc. v. Italian Activewear

 of Fla., Inc., 931 F.2d 1472, 1477 (11th Cir. 1991)).

         33.    By contrast, if the non-moving party bears the burden of proof at trial, the moving

 party may obtain summary judgment simply by establishing the nonexistence of a genuine issue

 of material fact as to any essential element of a non-moving party's claim or affirmative defense.

 Celotex Corp., 477 U.S. at 324. When the non-moving party bears the burden of proof, the

 moving party does not have to "support its motion with affidavits or other similar material

 negating the opponent's claim." Id. at 323 (emphasis in original). The moving party may

 discharge its burden in this situation by showing the Court that "there is an absence of evidence

 to support the nonmoving party's case." Id. at 324. Once the moving party discharges its initial



                                                                                                  12
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 13 of 30 PageID 1046




 burden, a non-moving party who bears the burden of proof must cite "to particular parts of

 materials in the record" or show "that the materials cited do not establish the absence or presence

 of a genuine dispute." Fed. R. Civ. P. 56(c)(l ).


         III. DEFENDANTS VIOLATED THE FHA BY FAILING TO ACCOMMODATE
              PLAINTIFFS' NEED TO LIVE WITH THEIR ASSISTANCE ANIMALS


        34.     The FHA makes it unlawful to "discriminate against any [handicapped] person in

 the terms, conditions, or privileges of sale or rental of a dwelling[,]" 42 U.S.C. § 3604(f)(2).

 Disability discrimination includes "a refusal to make reasonable accommodation in rules,

 policies, practices or services, when such accommodations may be necessary to afford such

 person equal opportunity to use and enjoy a dwelling." 42 U.S.C. § 3604(f)(3)(B). See also 24 C.

 F. R. § 100.204.

        35.     To establish a failure-to-accommodate claim, a plaintiff "must prove that (1) he is

 disabled within the meaning of the FHA, (2) he requested a reasonable accommodation, (3) the

 requested accommodation was necessary to afford him an [equal] opportunity to use and enjoy

 his dwelling, and (4) the defendants refused to make the accommodation." Bhogaita v. Altamonte

 Heights Condo. Ass'n, Inc., 765 F.3d 1277, 1285 (11th Cir. 2014).

      CHARLIE SMITH IS ENTITLED TO SUMMARY JUDGMENT REGARDING HIS
         CLAIM THAT DEFENDANTS' VIOLATED THE FHA BY FAILING TO
        ACCOMMODATE HIS NEED TO LIVE WITH HIS ASSISTANCE ANIMAL


        A. Charlie Smith had a disability

        36.     A person has a disability under the FHA if, among other things, he has "a physical

 or mental impairment which substantially limits one or more of such person's major life

 activities." 42 U.S.C. § 3602(h). Charlie Smith suffered a physical impairment, severe hearing



                                                                                                 13
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 14 of 30 PageID 1047




 loss. Hearing is a major life activity, and therefore at the time this suit was filed, Smith was

 disabled within the meaning of the FHA. See 24 C.F.R. §100.201, (Major life activities means

 functions such as caring for one's self, performing manual tasks, walking, seeing, hearing,

 speaking, breathing, learning and working.) (emphasis added)

        37.     Defendants knew or should have known of Smith's disability. According to the

 DOJ/HUD Joint Statement, depending on the individual’s circumstances, "information verifying

 that the person meets the Act's definition of disability can usually be provided by the individual

 himself or herself (e.g., proof that an individual under 65 years of age receives Supplemental

 Security Income or Social Security Disability Insurance benefits or a credible statement by the

 individual)." (emphasis added) While Defendants have never indicated why Charlie Smith's own

 statement that he was disabled was not a "credible statement," Defendants were also provided a

 letter from Dr. Kasewurm, Smith's doctor, verifying that Smith suffered severe hearing loss in

 both ears. Defendants were also provided an explanation of the nexus between the disability and

 the need for an accommodation for the dog. [DE 26 Ex. H] Brookhaven had no reason to dispute

 the information in the letter provided by Smith's doctor, [Ex. F, pg. 14-15] or that the dog helped

 Smith by alerting him of visitors or potential intruders. [Ex. F, pg. 14-15] In fact, Brookhaven

 does not know why Smith was not given an accommodation for his dog after their counsel was

 provided Dr. Kasewurm's letter. [Ex. F, pg. 14-16]

        B.      Charlie Smith requested a reasonable accommodation

        38.     Smith requested an accommodation for his dog Roxy before ever moving to

 Brookhaven, and was told his dog was approved. [Ex. A, ¶ 6, Ex. E ¶ 6] Further, after Smith was

 subsequently commanded to get rid of Roxy or face legal action, on February 24, 2015, his




                                                                                                 14
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 15 of 30 PageID 1048




 counsel forwarded the letter from Dr. Kasewurm to Brookhaven's counsel with a cover letter

 explaining the need for the accommodation, and concluding:

               "I trust you have received adequate documentation of Mr. Smith's need to
               live with his dog as an accommodation of his hearing loss. If I have not
               received confirmation that Brookhaven Village has waived the
               community's no pet rule for Mr. Smith's assistance animal within 7 days of
               this correspondence, I will initiate a housing discrimination complaint on
               his behalf in federal court." [DE 26 Ex. H]


        C. Such accommodation was necessary to afford Charlie Smith an equal
        opportunity to use and enjoy his dwelling

        39.    Smith needed to be allowed to live with his dog Roxy. An accommodation is

 necessary if it would affirmatively enhance Mr. Smith's quality of life by ameliorating (or

 reducing) the effects of his disability. To show that a requested accommodation may be

 necessary, there must be an identifiable relationship, or nexus, between the requested

 accommodation and the individual’s disability. Bhogaita v. Altamonte Heights Condo. Ass'n,

 Inc., 765 F.3d 1277, 1285 (11th Cir. 2014). Roxy helped Smith cope with his hearing loss by

 alerting him to sounds such as the door bell and potential intruders. [Ex. A, ¶5] Establishing an

 accommodation's necessity requires only proof the accommodation "address[es] the needs

 created by the handicap." Id. at 1290, citing Schwarz v. City of Treasure Island, 544 F.3d 1201

 (11th Cir. Fla. 2008.) Simply put, it is undisputed that Roxy helped Smith live with his severe

 hearing loss. Accordingly, the accommodation was necessary.

        D.     Defendants refused to make the requested accommodation.

        40.    It is undisputed that Brookhaven failed to grant Smith an accommodation.

 Instead, Brookhaven demanded extraneous information including "medical records, reports

 and/or documents" and proof that Roxy was "certified," threatened Smith with litigation if he did




                                                                                               15
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 16 of 30 PageID 1049




 not go to mediation at his own expense, and then initiated a lawsuit against him seeking removal

 of his assistance animal and to force Smith to pay Brookhaven's legal bills. [Ex. B]

        41.     It is undisputed that Brookhaven had no reason to disbelieve that Smith had in

 fact been told before moving to the community that Roxy would not be a problem [Ex. F, pg 33,

 lines 7-16], and that Brookhaven had no objective reason to doubt that Mr. Smith needed a dog

 to help him compensate for his hearing loss, [Ex. F, Pg 73, lines 6-11], yet nonetheless sued

 Smith seeking to have him remove Roxy and pay the Association's legal fees. [Ex. B]

        42.     It is undisputed that each of the five individual Defendants voted to initiate legal

 action against Smith and Capezza. [DE 40, ¶78, 98, 109, 120,131]

        43.     By voting to initiate a lawsuit seeking removal of Smith's assistance animal Roxy,

 the individual Defendants were personally involved in discriminating against Smith. See Sabal

 Palm Condos. of Pine Island Ridge Ass'n v. Fischer, 2014 U.S. Dist. LEXIS 32705 (S.D. Fla.

 Mar. 13, 2014) (Individual board members or agents can be held liable when they "personally

 committed or contributed to a Fair Housing Act violation.") citing Falin v. Condominium Ass'n

 of La Mer Estates, 2011 U.S. Dist. LEXIS 129927 (S.D. Fla. Nov. 9, 2011)



      DOROTHY CAPEZZA IS ENTITLED TO SUMMARY JUDGMENT REGARDING
            HER CLAIM THAT DEFENDANTS' VIOLATED THE FHA BY
            FAILING TO ACCOMMODATE HER NEED TO LIVE WITH
                     AN EMOTIONAL SUPPORT ANIMAL

        A.      Dorothy Capezza has a disability

        44.     Dr. Erika Friedmann, Associate Dean of Research for the University of

 Maryland's School of Nursing, has researched the health effects of human – animal interactions

 since the late 1970s. She is an internationally recognized researcher and expert on the basis of

 the health effects of human—animal interactions. Dr. Friedmann reviewed Ms. Capezza's

                                                                                                 16
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 17 of 30 PageID 1050




 medical records detailing five years of treatment by her primary care physician Dr. Preeti

 Harchandani, and interviewed Capezza by telephone. [Exhibit C, ¶ 2,5,6][Dr. Friedmann's

 Curriculum Vitae is included in Exhibit G, pg 182-215]

        45.     A "physical or mental impairment" as defined by the FHA includes "[a]ny mental

 or psychological disorder, such as . . . emotional or mental illness . . . " 24 C.F.R. §100.201.

 Dorothy Capezza suffers from and has a history of suffering from major depression, anxiety and

 hypertension. Capezza's disabilities impact her cognition, her ability to work, care for herself and

 otherwise carry out daily life activities. Since losing her dog, Capezza no longer walks three

 times a day like she did when Buttons was alive. In fact she rarely goes out at all. According to

 Dr. Friedmann, Capezza's depression and anxiety "are characterized by a lack of interest in

 others and in social interaction, difficulty getting out of bed, difficulty in taking care of herself

 and of her living environment, and difficulty leaving the house. Her high anxiety levels are also

 manifest in physical symptoms such as difficulty sleeping. Capezza has ceased her active

 lifestyle since she has not had a dog. She spends most of the day sitting in front of the TV or

 reading. She no longer goes bowling or to the gym. " [Ex. C ¶2, 3,9,10]

        46.     The record unequivocally demonstrates that Capezza has a mental disability that

 substantially impairs her major life activities.

                B.      Dorothy Capezza requested a reasonable accommodation

        47.     Like Charlie Smith, Dorothy Capezza requested an accommodation before ever

 moving to Brookhaven with her dog Buttons, and was told she had been approved. [Ex. D, ¶

 4][Ex. E,¶6][Ex. H, pg 19] Brookhaven has no reason to doubt that Capezza was told she could

 have her dog. [Ex. F, pg 23 and pg 36]




                                                                                                   17
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 18 of 30 PageID 1051




        48.     After Capezza was sent a letter demanding that Buttons be removed or she would

 face legal action, Capezza informed Defendant's counsel that she had been approved to have the

 dog, and that the dog provides support for her anxiety. [DE 26 Ex. J]

        49.     On behalf of Capezza, on February 20, 2015, Capezza's counsel responded to

 Brookhaven's demand for "medical records, reports and/or documents" and proof that Cappezza's

 emotional support animal had received training that set it apart from an "ordinary pet,"

 explaining that emotional support animals do not require training and that Brookhaven did not

 need and was not entitled to Capezza's medical records. Capezza's counsel offered that if there

 was an objective reason to doubt that there is a legitimate need for an accommodation, "please let

 me know and we can begin the interactive process to provide you verification within the

 parameters HUD and courts have established regarding the appropriate scope of inquiry that can

 be made by a housing provider." [DE 26 Ex. E]

        50.     Defendants never indicated any reason why they would be skeptical of Capezza's

 disability related need for an accommodation, or requested specific information regarding

 Capezza's disability as opposed to making an overly broad demand for unspecified "medical

 records, reports and/or documents." Brookhaven's corporate representative, produced to testify as

 to the basis for the failure to allow Dorothy Capezza to replace her emotional support animal,

 stated she was not aware of any objective reason to doubt that Dorothy Capezza needs an

 emotional support animal. [Ex. F pg 73, lines 14-19] When the same witness was asked why the

 two prescriptions provided by Dr. Harschandani were not adequate to convince the board that

 Capezza needed an accommodation for her emotional support animal, the witness replied "I don't

 know." [Ex. F pg 25, lines 1-6] Undersigned counsel followed up: "Can you tell me why my




                                                                                                18
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 19 of 30 PageID 1052




 client has not been provided an accommodation so that she can obtain another emotional support

 animal?" the witness stated "No. I can't tell you anything." [Ex. F pg 25, lines 8-13]

        51.     Were it not already obvious that Dorothy Capezza wants an accommodation so

 that she may obtain another emotional support animal after losing Buttons, Defendants were

 certainly on notice after being served with the instant lawsuit seeking an order that "awards to

 Plaintiffs the reasonable accommodation they have requested from BROOKHAVEN, which is a

 waiver of any policy that would prevent Plaintiffs from residing in their dwelling units with their

 assistance animals," and that expressly stated "CAPEZZA would like to obtain another

 emotional support animal to assist her with her anxiety, but has not done so because of the

 pending demands for extraneous information regarding her disability and threat of litigation."

 [DE 26] More than a year later, after providing five years of medical records and Dr.

 Friedmann's declaration, even though Brookhaven has all the information it needs to grant the

 accommodation. [Ex. F. pg 101], Capezza still has not received confirmation that Brookhaven's

 no-pet rule will be waived as an accommodation of her disabilities.

    C. Such accommodation is necessary to afford Dorothy Capezza an equal opportunity
    to use and enjoy her dwelling


        52.     According to Dr. Friedmann:

                 It is my opinion that living with an emotional support animal is necessary
                for Dorothy Capezza in order for her to have the same opportunity to
                enjoy her dwelling as a non-disabled person. It is my opinion that the
                therapeutic benefits of living with her emotional support animal
                affirmatively enhanced Dorothy Capezza’s quality of life by reducing the
                effects of her disability and that a new emotional support animal would do
                the same. [Ex. C, ¶ 2]

        53.     Dr. Friedmann bases her opinion on Capezza's medical history and personal

 interview, and in part upon studies that document the decreased stress responses (physiological



                                                                                                 19
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 20 of 30 PageID 1053




 indicators of anxiety, such as blood pressure) when animals are present. Friedmann notes "stress

 responses are particularly dangerous for individuals with hypertension such as Ms. Capezza. "

 [Ex. C, ¶ 3,9,10]

        54.     Also underpinning Dr. Friedmann's opinion as to Capezza's need to reside with a

 dog as an emotional support animal are that "Ms. Capezza has lost interest in social interactions

 as a component of her major functional impairment associated with her disability" and dogs are

 effective at inducing social interactions for people who are socially isolated and "studies

 unambiguously documented that animal assisted interventions resulted in significant reductions

 in depression, decreased stress responses, and increased social interactions in adults." [Ex. C, ¶

 10]

        55.     Capezza testified at her deposition that Buttons would get her up and going in the

 morning, that they would walk three times a day, and that she was less depressed and anxious

 when Buttons was with her. Since his passing, Capezza has been relying upon prescribed

 sleeping pills, barely leaves her house, no longer goes to the gym and no longer tends her garden.

 She testified that that the dog got her to do things she no longer does. [Ex. H, pg 55-57]

        56.     It is necessary that Capezza be allowed to live with an emotional support animal.

 An accommodation is necessary if it would affirmatively enhance Capezza's quality of life by

 ameliorating (or reducing) the effects of her disability. Bhogaita v. Altamonte Heights Condo.

 Ass'n, 765 F.3d 1277 (11th Cir. Fla. 2014) The record clearly establishes that Buttons helped

 ameliorate the symptoms of Capezza's depression and anxiety by providing companionship and

 emotional support, elevating her mood, and forcing her to get out of the house and walk three

 times a day. Being able to obtain and live with another dog would benefit Capezza by reducing




                                                                                                20
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 21 of 30 PageID 1054




 the impacts of her disabilities. Accordingly, the accommodation is necessary. Smith v. Powdrill,

 2013 U.S. Dist. LEXIS 154485 (C.D. Cal. Oct. 28, 2013)

    D. Defendants refused to make the requested accommodation.

        57.     Brookhaven was provided two prescriptions signed by Preeti Harchandani, MD,

 Ms. Capezza's primary care physician, attesting that Capezza needs her dog "for companionship

 due to anxiety issues" and "for emotional well being and support." Verification of a disability

 related need for an accommodation need not contain fair housing jargon like "disability," and

 "substantially affects major life activities." To the contrary, "documentation is sufficient if it

 establishes that an individual has a disability and that the animal in question will provide some

 type of disability related assistance or emotional support." (Service Animals and Assistance

 Animals for People with Disabilities in Housing and HUD-Funded Programs, FHEO Notice:

 FHE0-2013-01 (April 25, 2013)) [D26, Exhibit G] The prescriptions from Dr. Harchandani

 indicate that Capezza needs an emotional support animal because of her anxiety. In the absence

 of any objective reason to be skeptical of Capezza's disability or need for an accommodation,

 that should have been enough. Brookhaven does not know why the prescriptions were not

 adequate to convince the board that Capezza needed an accommodation for her emotional

 support animal or why Capezza has not been given an accommodation. The corporate

 representatives answers are binding on Brookhaven. See QBE Ins. Corp. v. Jorda Enters., 277

 F.R.D. 676 (S.D. Fla. 2012). (When a corporation's designee legitimately lacks the ability to

 answer relevant questions on listed topics and the corporation cannot better prepare that witness

 or obtain an adequate substitute, then the "we-don't-know" response can be binding on the

 corporation and prohibit it from offering evidence at trial on those points. Phrased differently, the

 lack of knowledge answer is itself an answer which will bind the corporation at trial.") citing



                                                                                                   21
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 22 of 30 PageID 1055




 Fraser Yachts Fla., Inc. v. Milne, No. 05-21168-CIV-JORDAN, 2007 U.S. Dist. LEXIS 27546,

 2007 WL 1113251, at *3 (S.D. Fla. Apr. 13, 2007); Chick-Fil-A v. ExxonMobil Corp., No. 08-

 61422-CIV, 2009 U.S. Dist. LEXIS 109588, 2009 WL 3763032, at *13 (S.D. Fla. Nov. 10,

 2009); see also Ierardi v. Lorillard, No. 90-7049, 1991 U.S. Dist. LEXIS 11320, 1991 WL

 158911 (Aug. 13, 1991) (E.D. Pa. 1991) (if party's 30(b)(6) witness, because of lack of

 knowledge or failing memory, provides a "don't know" answer, then "that is itself an answer"

 and the corporation "will be bound by that answer").

        58.     Assuming Brookhaven did actually have an objective reason to question whether

 Capezza needed the ability to live with an emotional support animal, the proper course would

 have been to request additional information regarding the only two relevant inquiries: whether

 Capezza's anxiety and depression amount to a qualifying disability, and whether living with an

 emotional support animal helps alleviate the effects of her anxiety and depression. See Bhogaita

 at 1287. Instead, even though Dr. Harchandani's prescriptions identified a cognizable disability,

 anxiety, Defendants requested unspecified "medical records, reports and/or documents," told

 Capezza she must demonstrate "how this emotional service animal reasonably accommodates

 your medical or psychiatric disability or handicap," and that the "emotional service animal has

 special skills or training to accommodate your medical disability" and demonstrate "how the

 special skills or training of the service animal or emotional support animal set it apart from an

 ordinary pet." When she failed to do so within a week, she was served an "offer" to participate in

 mediation at her own expense, and cautioned that if she failed to capitulate she might be sued.

        59.     Demands for extraneous information regarding a requested accommodation

 constitute a constructive denial. Bhogaita v. Altamonte Heights Condo. Ass'n, 765 F.3d 1277

 (11th Cir. Fla. 2014) ( upholding district court's determination that the defendant's demand that



                                                                                                   22
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 23 of 30 PageID 1056




 plaintiff remove his dog "if he did not provide [the Association] with information it was not

 entitled to receive" was constructive denial of a request for accommodation, and granting

 summary judgment on the refusal to accommodate element.) As noted by the court in Bhogaita,

 housing providers generally need "only the information necessary to apprise them of the

 disability and the desire and possible need for an accommodation." citing Colwell v. Rite Aid

 Corp., 602 F.3d 495, 506 (3d Cir. 2010) (holding in a reasonable accommodation claim brought

 under the ADA that employers need "enough information to know of both the disability and

 desire for an accommodation" (internal quotation marks omitted)); also citing Joint Statement at

 141 (counseling that, "[i]n most cases, an individual's medical records or detailed information

 about the nature of a person's disability is not necessary for" determining whether an

 accommodation is required). [DE 26, Ex. G]

        60.     Capezza has been without an emotional support animal for more than a year

 because Brookhaven has failed to grant her an accommodation, insisting upon extraneous

 information and proof of training. See Overlook Mutual Homes, Inc. v. Spencer, 415 F. App'x

 617, 622 (6th Cir. 2011) ("a housing provider that refuses to make a decision unless a requestor

 provides unreasonably excessive information" could be found to have "constructively denied the

 request [for an accommodation] by 'stonewalling' and short-circuiting the process"). There are no

 genuine disputed issues of fact that prevent granting summary judgment on this point.

          RUPERT, BERNDT, BURTON CRITTENDEN & WALKER HAVE EACH
       PERSONALLY CONTRIBUTED TO THE FAILURE TO ACCOMMODATE
            PLAINTIFFS' NEED FOR THEIR ASSISTANCE ANIMALS

        61.     All of the individual Defendants admit voting to initiate legal action against

 Plaintiffs. [DE 40, ¶78, 98, 109, 120,131]


 1 Department of Justice and HUD, Joint Statement on Reasonable Accommodations at 11

 (May 17, 2004), available at www.hud.gov/offices/fheo/library/huddojstatement.pdf
                                                                                               23
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 24 of 30 PageID 1057




        62.     Individual board members can be held liable when they “personally committed or

 contributed to a Fair Housing Act violation.” Falin v. Condominium Association of La Mer

 Estates, Inc., 2011 WL 5508654 at 3 (S.D. Fla. 2011). The individual Defendants all voted in

 favor of initiating legal action against Plaintiffs, notwithstanding the fact that defendants knew

 Capezza and Smith had asserted they needed to live with their dogs because of disabilities, and

 had been previously led to believe they had been approved to have their dogs.

        63.     The amended complaint alleges each individual defendant, asserting that he or she

 "as a member of BROOKHAVEN's Board of Directors, voted to authorize initiation of legal

 action against Plaintiffs rather than grant them the accommodations to which they are entitled."

 Each individual defendant responded exactly as did Jim Rupert:

                        Defendant RUPERT would admit that he voted to enforce
                the Declarations of Covenants and Restrictions as written but
                would deny that he ever voted to refuse Plaintiffs' request for
                accommodations. Rather, the decision on how to proceed with
                Plaintiffs' request was never decided by the Board while the
                Defendants were still hopeful that the Plaintiffs would produce the
                information and evidence of the Plaintiffs' disability and need for
                the service animal or emotional support animal as previously
                requested. Currently, RUBERT would deny that he at any time
                denied the Plaintiffs' FHA rights or discriminated against the
                Plaintiffs on the basis of their purported disabilities.

        64.     Had the individual defendants been wholly ignorant of Smith and Capezza's

 claims of a disability related need for accommodations, perhaps they could characterize such a

 vote as a “decision to enforce the Declarations of Covenants and Restrictions. ” However, "[a]s a

 general rule, housing providers should cooperate with residents to resolve disputes over

 reasonable accommodations rather than turning to the courts." Overlook Mut. Homes, Inc. v.

 Spencer, 415 Fed. Appx. 617 (6th Cir. Ohio 2011)




                                                                                                24
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 25 of 30 PageID 1058




        65.     Capezza never refused to provide additional information. On February 20, 2015,

 through counsel, both Smith and Capezza offered to provide "verification within the

 parameters HUD and courts have established regarding the appropriate scope of inquiry that can

 be made by a housing provider" provided there was an objective reason to doubt either had a

 legitimate need for an accommodation. Nonetheless, three days later the individual Defendants

 voted to initiate a lawsuit against Plaintiffs, a curious action to take if they really "were still

 hopeful that the Plaintiffs would produce the information and evidence of the Plaintiffs' disability

 and need for the service animal or emotional support animal as previously requested."

        66.     By voting to sue Capezza and Smith, knowing all along that both had asserted that

 they needed their dogs to help ameliorate the effects of their disabilities, all five individually

 named defendants personally committed or contributed to violations of the FHA. A showing that

 the individual board members had any animus or discriminatory intent is not required. See

 United States v. Tropic Seas, Inc., 887 F. Supp. 1347,1365 (D. Hawaii 1995) (Because the duty

 to comply with the Fair Housing Act is non-delegable, a corporation’s officers and directors may

 be held individually liable for their failure to ensure the corporation’s compliance. This is so

 even where the individual director or officer did not actively participate in the alleged

 discrimination and did not subjectively intend to discriminate against the complainant.)(internal

 citations omitted).

        67.     Board members who participate in, authorize, or ratify the commission of a FHA

 violation maybe held individually liable. It is undisputed that the individual defendants are liable

 for failing to accommodate Capezza and Smith.

                         INTIMIDATION BY DEFENDANT BROOKHAVEN

  BROOKHAVEN VIOLATED THE FHA BY THREATENING TO SUE CAPEZZA AND
               SMITH AND BY ACTUALLY SUING SMITH

                                                                                                  25
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 26 of 30 PageID 1059




        68.     In the Eleventh Circuit, a party is liable pursuant to 42 U.S.C. § 3617 if (1) he or

 she has coerced, intimated, threatened or interfered; (2) with a Plaintiff’s exercise or enjoyment

 of his [or her] Fair Housing rights or a Plaintiff’s aiding of another’s exercise or enjoyment of

 such a right; (3) because of a discriminatory or retaliatory animus. 42 U.S.C. § 3617; Sofarelli v.

 Pinellas County, 931 F.2d 718, 721-23 (11th Cir. 1991). Section 3617’s prohibition includes,

 among other things, “retaliation” for having exercised, enjoyed or aided someone in exercising

 or enjoying such a right. See also 24 C.F.R. § 100.400(c).2 Courts, including the U.S. Supreme

 Court, the United States Eleventh Circuit and the Southern District of Florida, have consistently

 held that a lawsuit filed in response to a persons’ assertion of their civil rights constitutes

 retaliation as a matter of law. Sofarelli 931 F.2d at 721-23 (holding that neighbors’ suit for

 injunctive relief constituted retaliatory interference with counterclaimant’s Fair Housing rights).

        69.     In this case, when Plaintiffs explained they had already been given permission to

 reside with their assistance animals, Brookhaven demanded extraneous information and a week

 later served a "STATUTORY OFFER TO PARTICIPATE IN PRE-SUIT MEDIATION."

 Although Plaintiffs had each received one single demand for unspecified medical records and

 proof their dogs had been trained, these mediation offers stated that:

 2
   See also Bill Johnson’s Restaurants, Inc. v. N.L.R.B., 461 U.S. 731, 740-41, (1983) (The threat
 of an employer suit against an employee can be a “powerful instrument of coercion” because,
 “[r]egardless of how unmeritorious the employer’s suit is, the employee will most likely have to
 retain counsel and incur substantial legal expenses to defend against it”); Housing Opportunities
 Project For Excellence, Inc. v. Key Colony No. 4 Condominium, 510 F. Supp. 2d 1003, 1013
 (S.D. Fla. 2007) (“Key Colony”) (acknowledging that an enforcement suit can constitute
 unlawful retaliation); Zhu v. Countrywide Realty, Co., Inc., 165 F. Supp. 2d 1181, 1198-99 (D.
 Kan. 2001) (Upholding Fair Housing retaliation claim where defendant’s counsel first threatened
 legal action and then filed petition for a restraining order against plaintiff); U.S. v. Scott, 788 F.
 Supp. 1555, 1561--62 (D. Kan. 1992); U.S. v. Wagner, 940 F. Supp. 972, 978-83 (N.D. Tex.
 1996) (holding that filing of a baseless lawsuit to preclude exercise of fair housing rights is not
 protected by the first amendment right to petition); Schroeder, 879 F. Supp. 173 (holding that the
 threat of and actual filing of a lawsuit may form the basis of a Fair Housing retaliation claim).

                                                                                                    26
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 27 of 30 PageID 1060




                         "you have received numerous requests from the
                Association to bring your property into compliance by submitting
                an application and documentation for the dog you are keeping at
                your property. Yet, despite numerous requests to remedy these
                situations by your association and by its Property Manager, you
                went ahead without submitting an Application and documentation
                for the Board to review and approve. These requests have been
                totally ignored by you and as a result your property has been
                referred to our firm for legal action." (emphasis added)

        70.     The "STATUTORY OFFER TO PARTICIPATE IN PRE-SUIT MEDIATION"

 served on Smith and Capezza warns them that if they fail to participate in mediation, fifty

 percent of the cost of which was to be borne by Plaintiffs, "suit may be brought against you by

 the Association without further warning." In the case of Charles Smith, suit was brought against

 him without further warning.

        71.     The action of threatening suit against Plaintiffs and demanding pre-suit mediation,

 and the act of suing Charlie Smith seeking to force removal of his assistance animal and to force

 him to pay the Association's fees constitutes interfering, coercing or intimidating Plaintiffs for

 having exercised their legal rights under the Fair Housing Act. Brookhaven disingenuously

 attempts to hide behind the supposedly mandatory language dictated by Section 720.311, Fla.

 Stat. ignoring the fact that Brookhaven chose to "offer" pre-suit mediation in the first place.

 While such a statutory notice must be phrased as required by law, nobody forced Brookhaven to

 serve a demand for mediation at all. A housing provider may meaningfully review a disabled

 resident's request for a waiver of a no pet rule without serving a statutory offer to participate in

 pre-suit mediation. Brookhaven could easily have asked Smith and Capezza to participate in

 mediation without utilizing the fee shifting procedure outlined in Section 720.311, Fla. Stat., and

 clearly did so only to preserve the ability to force Plaintiffs to pay their attorneys' fees after

 Brookhaven initiated lawsuits against them.



                                                                                                  27
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 28 of 30 PageID 1061




        72.     The undisputed facts show Brookhaven's conduct interfered with Plaintiffs'

 exercise of their right to live with their assistance animals as a reasonable accommodation of

 their disabilities. See Smith v. Powdrill, 2013 U.S. Dist. LEXIS 154485 (C.D. Cal. Oct. 28, 2013)

 ("By responding to Plaintiff's request for an accommodation for her disability by issuing her a 3-

 Day Notice, and subsequently reiterating that they wanted Plaintiff out of the apartment if she

 insisted on keeping the companion animal, Defendants engaged in conduct that would give a

 person in Plaintiff's position cause to hesitate in seeking to enforce her right to obtain a

 reasonable accommodation for her disabilities."), see also Hopler v. Crystal Tower, Inc., 2014

 U.S. Dist. LEXIS 112278 (S.D. Fla. June 19, 2014), finding that conduct by defendant

 condominium association of sending a letter threatening legal action and subsequently filing a

 Petition for Mandatory Non-Binding Arbitration supported a claim for retaliation in violation of

 42. U.S.C. 3617.

                                   INTIMIDATION BY JIM RUBERT

        Capezza and Judy Shimunek both have attested that Jim Rubert, after voting to initiate

 legal action against Capezza and Smith on February 23, 2015, approached Plaintiffs and stated

 that it is a crime to lie about your dog being a service dog, specifically a "class D felony." [Ex.

 A, ¶12] [Ex. H pg 24-25]This statement was clearly intended to intimidate Plaintiffs into

 abandoning their right to live with their assistance animals.

        Section 3617 is not limited to those who used some sort of "potent force or duress," but

 extends to other actors who are in a position directly to disrupt the exercise or enjoyment of a

 protected right and exercise their powers with a discriminatory animus. Michigan Protection &

 Advocacy Serv. v. Babin, 18 F.3d 337, 347 (6th Cir. Mich. 1994). As a board member, Rubert

 was in such a position. See also Perez v. Cambeyro, 2015 U.S. Dist. LEXIS 175721, *16-19



                                                                                                    28
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 29 of 30 PageID 1062




 (S.D. Fla. Sept. 1, 2015) ( "a plaintiff sufficiently states a retaliation claim where he alleges that

 the defendant threatened to terminate the plaintiff's lease, mentally antagonized the plaintiff, and

 levied frivolous fines in retaliation for the plaintiff's attempts to receive accommodations and for

 filing complaints with housing agencies.") Rubert insinuated to disabled residents that they have

 committed a criminal act by merely having asserted their right to live in their own homes with

 the assistance animals that helped them cope with their disabilities. Rubert's conduct would give

 disabled residents in Plaintiffs' position cause to hesitate in seeking to enforce their right to a

 reasonable accommodation for their disabilities, and accordingly constitutes illegal interference

 with Plaintiffs' exercise of their fair housing rights.

                                                CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that the Court grant Plaintiffs'

 motion for summary judgment on the issue of Defendants' liability and grant a trial on damages.



         Respectfully submitted this 4th of April, 2016.

 BY:/s/ Marcy LaHart                                       BY: /s/ Sarah M. Hayter
 Marcy I. LaHart, Esq.                                     Robert N. Hartsell, Esq.
 Florida Bar No. 0967009                                   Florida Bar No. 636207
 Marcy@floridaanimallawyer.com                             Sarah M. Hayter, Esq.
 MARCY I. LAHART, P.A.                                     Florida Bar No. 83823
 4804 SW 45th Street                                       Robert@Hartsell-Law.com
 Gainesville, Florida 32608                                Sarah@Hartsell-Law.com
 Telephone (352) 224-5699                                  ROBERT N. HARTSELL, P.A.
 Attorney for Plaintiff                                    Federal Tower Building
                                                           1600 S. Federal Highway, Suite 921
                                                           Pompano Beach, Florida 33062
                                                           Telephone (954) 778-1052
                                                           Facsimile (954) 941-6462
                                                           Attorney for Plaintiff




                                                                                                       29
Case 8:15-cv-00579-CEH-AEP Document 68 Filed 04/04/16 Page 30 of 30 PageID 1063




                               CERTIFICIATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
 via CM/ECF electronic mail service to this 4th day of April, 2016 to the Clerk of the Court. I
 also certify that the foregoing document is being served this day on all counsel of record.

                                            BY:    /s/Marcy I LaHart
                                                   Marcy LaHart, Esq.
                                                   Florida Bar No. 0967009




                                                                                            30
